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 8                      IN THE UNITED STATES DISTRICT COURT

 9                         EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                  )   CASE NO. 2:13-cr-00078 MCE
                                                )
12                       Plaintiff,             )
                                                )   STIPULATION AND ORDER
13   v.                                         )
                                                )
14    RATHANAK VAN,                             )
          aka “LOONEY”                          )   Date: May 23, 2013
15    SNANGEHK PEOU,                            )   Time: 9:00 a.m.
      LITTANOVONE KEOPADUBSY, and               )   Judge: Hon. Morrison E. England
16    HO LY,                                    )
                                                )
17                       Defendants.            )
                                                )
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            IT IS HEREBY STIPULATED by and between: Assistant United
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21   States Attorney Paul Hemesath, counsel for Plaintiff; Michael Petrik,

22   counsel for defendant RATHANAK VAN, Christopher Cosca, counsel for

23   defendant SNANGEHK PEOU; Mark Reichel, counsel for LITTANOVONE
24   KEOPADUBSY; and Michael Long, counsel for HO LY, that the above status
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     conference be rescheduled from this Court’s May 23, 2013, calendar, and
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     that the matter be re-calendared for July 18, 2013, at 9:00 a.m.            This
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     request is made jointly by the government and defense in order to
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     permit time for continued preparation, including investigation which is
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     currently in progress, and plea negotiations.           Defense counsel is
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 3   reviewing substantial discovery materials, including hours of video and

 4   audio recordings concerning the alleged conduct.            The parties agree

 5   that the interests of justice served by granting this continuance
 6   outweigh the best interests of the public and the defendant in a speedy
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     trial.
 8
               IT IS FURTHER STIPULATED that time be excluded between May 23,
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     2013, and July 18, 2013, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv),
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11   Local Code T-4.

12   Dated: May 20, 2013                           /s/ Paul Hemesath
                                                   Paul Hemesath
13                                                 Assistant United States Attorney
                                                   Counsel for Plaintiff
14

15
     Dated: May 20, 2013                           /s/ Michael Petrik
16                                                 Michael Petrik
                                                   Counsel for Defendant
17                                                 RATHANAK VAN

18
     Dated: May 20, 2013                           /s/ Mark Reichel
19
                                                   Mark Reichel
20                                                 Counsel for Defendant
                                                   LITTANOVONE KEOPADUBSY
21

22   Dated: May 20, 2013                           /s/ Christopher Cosca
                                                   Christopher Cosca
23                                                 Counsel for Defendant
24                                                 SNANGEHK PEOU

25
     Dated: May 20, 2013                           /s/ Michael Long
26                                                 Michael Long
                                                   Counsel for Defendant
27                                                 HO LY
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                                           O R D E R
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               Having reviewed the foregoing stipulation, and finding that the
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     interests of justice served by granting this continuance outweigh the
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     best interests of the public and the defendant in a speedy trial, IT IS
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     SO ORDERED.     The status conference in this matter is hereby continued
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 7   from May 23, 2013 to July 18, 2013 at 9:00 a.m. in Courtroom No. 7.

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     DATED:    May 22, 2013
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11                                       _____________________________________________
                                         MORRISON C. ENGLAND, JR., CHIEF JUDGE
12                                       UNITED STATES DISTRICT COURT

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